7:17-cv-01078-DCC   Date Filed 04/25/17   Entry Number 1-1   Page 1 of 78




                      Exhibit A
               (State Court Pleadings)
     7:17-cv-01078-DCC         Date Filed 04/25/17       Entry Number 1-1        Page 2 of 78




                                                                                                    ELECTRONICALLY FILED - 2016 Oct 31 10:23 AM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
STATE OF SOUTH CAROLNA                   )            IN THE COURT OF COMMON PLEAS
                                         )
COUNTY OF SPARTANBURG                    )
                                         )
Kevin Cantrell and Anne Marie Cantrell,  )
                                         )
                            Plaintiffs,  )
                                         )
v.                                       )                    SUMMONS
                                         )
New Penn Financial, LLC, Avenue 365      )
Lender Services, Jake Brown, Shell Point )
                                         )
                            Defendants. )
____________________________________)
TO THE ABOVE DEFENDANTS

       YOU ARE HEREBY SUMMONED and required to answer the Complaint in this action,

a copy of which is herewith served upon you, and to serve a copy of your Answer to the Complaint

on the undersigned at this office located at 233 South Pine Street, Post Office Box 5663,

Spartanburg, South Carolina 29304, within thirty (30) days after the service hereof, exclusive of

the day of such service, and if you fail to answer the Complaint within the time aforesaid, the

Plaintiff in this action will apply to the Court for the relief demanded in the Complaint.

               Dated at Spartanburg, South Carolina this October 31st, 2016

                                                      The Ward Law Firm, PA
                                                      Attorneys for Plaintiff

                                                      s/Jason M. Imhoff
                                                      Jason M. Imhoff (SC Bar No: 69355)
                                                      The Ward Law Firm, PA
                                                      PO Box 5663
                                                      Spartanburg, SC 29304
                                                      Telephone (864) 582-3075
                                                      Facsimile (864) 585-3090




                                                 1
     7:17-cv-01078-DCC         Date Filed 04/25/17     Entry Number 1-1       Page 3 of 78




                                                                                                    ELECTRONICALLY FILED - 2016 Oct 31 10:23 AM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
STATE OF SOUTH CAROLNA                     )      IN THE COURT OF COMMON PLEAS
                                           )
COUNTY OF SPARTANBURG                      )
                                           )
Kevin Cantrell and Anne Marie Cantrell,    )
                                           )
                              Plaintiffs,  )
                                           )
v.                                         )               COMPLAINT
                                           )
New Penn Financial, LLC, Avenue 365        )
Lender Services, Jake Brown, Shell Point )
                                           )
                              Defendants. )
____________________________________)
       Plaintiffs, Kevin Cantrell and Anne Marie Cantrell, complaining of the Defendants, New

Penn Financial, LLC, Avenue 365 Lender Services, Jack Brown, and Shell Point (hereinafter

“Defendants”), will show unto the court and allege as follows:

       1.       Kevin Cantrell and Anne Marie Cantrell are the owners of a home located at 323

Seabreeze Way, Lyman, South Carolina.

       2.       Kevin Cantrell is a veteran and qualified for a VA loan for the residence located

at 323 Seabreeze Way, Lyman, South Carolina

       3.       In late 2015 or early 2016, Mr. Cantrell received a solicitation from New Penn

Financial to refinance his Veteran’s Administration Home Mortgage with New Penn Financial at

a lower rate.

       4.       Mr. and Mrs. Cantrell contacted New Penn Financial and chose to refinance the

home at a lower interest rate with cash out to pay off debt. New Penn Financial, LLC identifies

its address as 4000 Chemical Road, Suite 200, Plymouth Meeting, PA, 19462.

       5.       The Cantrells were provided with numerous documents and packages from New

Penn Financial outlining the terms of the loan. They were also asked to execute and return


                                                1
     7:17-cv-01078-DCC         Date Filed 04/25/17     Entry Number 1-1          Page 4 of 78




                                                                                                    ELECTRONICALLY FILED - 2016 Oct 31 10:23 AM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
numerous documents including, but not limited to, authorizations to release social security

numbers, a credit inquiry explanation letter, a borrower’s certificate and authorization, and a

South Carolina Attorney and Insurance Preference Disclosure, which they returned to New Penn

Financial.

       6.      When filling out the South Carolina Attorney and Insurance Preference

Disclosure the Cantrells chose attorney Whit Bishop as their closing attorney.

       7.      The Cantrells’ closing was delayed and some of the terms of that closing were

also changed at the last minute.

       8.      During the process of obtaining the loan for the property through New Penn

Financial, the Cantrells were directed to and worked with Jake Brown, Mortgage Consultant,

MNLS# 247725 who had an email account of jdbrown@newpennfinancial.com.

       9.      Additionally, during the process of obtaining the loan, the Cantrells began

receiving correspondence and documents from Avenue 365 Lender Services.                No person

explained or identified Avenue 365 Lender Service’s role in the new loan process or its

relationship with New Penn.

       10.     After the closing, the Cantrells were directed to make the mortgage payments to

Shell Point which they have continued to do.

       11.     New Penn Financial described itself as “a direct mortgage lender” which is able to

provide some of the “fastest service in the mortgage industry without sacrificing our dedication

to customer service.”

       12.     On the date of the closing, the Cantrells were visited by attorney Ryan

Breckenridge, who offered no identification or explanation that he was acting as the Cantrells’

attorney, on their behalf, or that he was an attorney at all. In fact, during the closing he



                                                2
        7:17-cv-01078-DCC     Date Filed 04/25/17      Entry Number 1-1        Page 5 of 78




                                                                                                   ELECTRONICALLY FILED - 2016 Oct 31 10:23 AM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
introduced himself only as a notary and did not explain that he was the closing attorney in the

case.

         13.   Within all of the documents, including authorizations to disclose financial and

personal information nowhere is the relationship between New Penn, Avenue 365, Shell Point, or

Ryan Breckenridge identified, explained, disclosed, or described.

         14.   During the closing process the Cantrells assumed that the closing documents had

been sent to the Law Office of Whit Bishop and that he had reviewed and signed off on those

documents. In fact, no closing package or documents were ever sent to Whit Bishop and neither

the Cantrells nor Attorney Whit Bishop were aware of that fact until Mr. Cantrell contacted Mr.

Bishop subsequently on an unrelated matter.

         15.   Nowhere within the voluminous documents sent to the Cantrells were the

Cantrells made aware that they did not have an option to obtain their own lawyer or that a

separate company other than New Penn Financial would be accessing and reviewing their

financial records and companies other than New Penn Financial would be preparing the closing

package and acting as the closing attorney in contravention of the Cantrells’ wishes.

         16.   In contravention of the Cantrells’ written choice of Whit Bishop as their closing

attorney for the loan, Avenue 365 sent the final settlement package to South Carolina Attorney

Robert Ryan Breckenridge, without notice to the Cantrells.

         17.   Robert Ryan Breckenridge was approved and assigned by New Penn Financial,

LLC and Avenue 365 and, upon information and belief, Shell Point.

         18.   In a published opinion, filed April 20, 2016 Attorney Breckenridge received a

public reprimand by the Supreme Court of South Carolina with details of similar improper

relationship between a lender, Title Company, and the closing company.



                                                3
     7:17-cv-01078-DCC          Date Filed 04/25/17      Entry Number 1-1      Page 6 of 78




                                                                                                      ELECTRONICALLY FILED - 2016 Oct 31 10:23 AM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
       19.     Mr. Breckenridge did not disclose to the Cantrells that he was splitting attorney’s

fees with anyone else, offer the Cantrells a dual representation disclosure form or make any other

disclosure, and instead told the Cantrells that he was simply a notary.

       20.     As a result of a similar type of transaction Mr. Breckenridge received a public

reprimand for, among other things, “failure to explain the scope of his representation to [Clients]

and shared a fee with a non-lawyer.” Further, the Supreme Court found that Mr. Breckenridge

did not comply with Rule 407 SCACR which requires “a lawyer who supervises [a residential

real estate closing] process must, at a minimum, explain [the disbursement] process of the clients

and ensure they understand the lawyer’s limited role in the transaction does not include receipt

and disbursement of funds.” The Court found that “in essence, Respondent was using a rubber

stamp for a non-lawyer, out of state organization with no offices in the State of South Carolina

whose involvement was not disclosed to the Respondent’s clients. This Court has insisted on

lawyer-directed real estate closings in order to protect the public. Respondent’s method of

handling his client’s business provided no real protection of his clients and no attorney record of

the transactions by which to verify the details of the closing.

       21.     As the closing occurred in Spartanburg County, South Carolina, jurisdiction and

venue are appropriate in Spartanburg, South Carolina

                                 FOR A FIRST CAUSE OF ACTION
                        (Fraud in the Inducement, Fraud, Constructive Fraud)

       22.     Each and every allegation in the preceding defenses not inconsistent herewith are

realleged and adopted for the purpose of this defense.

       23.     Upon information and belief, Defendants are not separate arm’s length entities

with an appropriate system of checks and balances in the residential lending forum, but rather are



                                                  4
     7:17-cv-01078-DCC          Date Filed 04/25/17       Entry Number 1-1         Page 7 of 78




                                                                                                           ELECTRONICALLY FILED - 2016 Oct 31 10:23 AM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
the same or related companies working collectively to obtain customers and profits while

intending to give the appearance that each company is separate and working for the borrower.

        24.     Each company, individually and collectively, works to minimize costs and

increase profits to the detriment of the borrower by relying on illegal, unethical, or fraudulent

procedures, associations, and fees, including, but not limited to directing borrowers to sister

companies, ignoring or failing to offer the choice of outside counsel or brokers, and working in

direct contravention of South Carolina law, codes, and ethical standards to increase profits.

        25.     Upon information and belief, the Defendants knew or should have known that

directing borrowers to sister companies without disclosing the true financial relationships

between those companies, ignoring borrower’s choice of attorney, utilizing unethical and illegal

out of state closing companies, and using counsel with a public reprimand for the same or similar

conduct was illegal, unethical, fraudulent, and dishonest.

        26.     Defendants intentionally and willfully made material misrepresentations of fact to

Plaintiffs concerning their services and intentionally and willfully withheld material information

from Plaintiffs regarding their role in the process, their financial ties and benefits, their intentions

to avoid the eyes and oversight of outside counsel, and failed to disclose that the manner in

which they advertised, marketed, obtained, processed, and shared business was intended solely to

increase profits at the expense of the Plaintiffs.

        27.     Plaintiffs had a right to rely upon Defendants’’ representations and omissions in

connection with the note, contract, mortgage, and the agreement and have been damaged by

Defendants’ fraudulent conduct

                             FOR A SECOND CAUSE OF ACTION
                                   (Unfair Trade Practices)




                                                     5
     7:17-cv-01078-DCC         Date Filed 04/25/17       Entry Number 1-1     Page 8 of 78




                                                                                                    ELECTRONICALLY FILED - 2016 Oct 31 10:23 AM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
        28.    Each and every allegation in the preceding defenses not inconsistent herewith are

realleged and adopted for the purpose of this defense.

        29.    The actions of Defendants described above constitute deceptive acts and/or

practices in the conduct of trade and/or commerce which have an adverse impact on the public

interest.

        30.    Plaintiffs’ deceptive acts and practices are capable of repetition in that they

actively engage in property loans, closings, and mortgages in the State of South Carolina.

        31.    Defendants’ unfair and deceptive acts constitute violation of South Carolina

Unfair Trade Practices Act at S.C. Code § 39-5-10, et. seq.

        32.    As a direct and proximate cause of Defendants’ deceptive acts and practices,

Plaintiffs have suffered actual and consequential damages.

        33.    Defendants’ deceptive acts and practices constitute willful and knowing violations

of S.C. Code § 39-5-10, et. seq. Plaintiffs are therefore entitled to three times actual damages,

plus interest, costs, and attorneys’ fees, for which they hereby sue.

                              FOR A THIRD CAUSE OF ACTION
                                       (Negligence)

        34.    Each and every allegation in the preceding defenses not inconsistent herewith are

realleged and adopted for the purpose of this defense.

        35.    Defendants owed a duty to provide clients and customers with correct information

to comply with their contracts, obligations, requirements, statutes, and regulations and owed a

duty to act in good faith, perform due diligence, provide honest and accurate information, and

investigate the status of its subcontractors and information provided by said subcontractors

during and before closings.



                                                  6
     7:17-cv-01078-DCC           Date Filed 04/25/17         Entry Number 1-1   Page 9 of 78




                                                                                                    ELECTRONICALLY FILED - 2016 Oct 31 10:23 AM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
        36.     Defendants breached its duty to these Plaintiffs in that it provided incorrect

information or failed to provide any information, failed to investigate, failed to research, and

failed to oversee the companies and attorneys closing loans on its behalf and failed to provide

proper notices, failed to analyze its duties pursuant to contract, code, statues, regulation, or

otherwise, and failed to perform due diligence or otherwise acted unreasonably.

        37.     Said breaches of its duties have damaged Plaintiffs and proximately caused

damage to Plaintiffs for which they should be compensated.

                                FOR A FOURTH CAUSE OF ACTION
                       (Violation of South Carolina Consumer Protection Code)

        38.     Each and every allegation in the preceding defenses not inconsistent herewith are

realleged and adopted for the purpose of this defense.

        39.     Plaintiffs are consumers under the South Carolina Consumer Protection Code and

is entitled to the rights and liberties contained therein.

        40.     Defendants have breached the South Carolina Protection Code in the following

particulars, including, but not limited to:

                a)      § 37-5-201, et seq (including but not limited to 202, 203, 301, 302)

                b)      § 37-7-116

                d)      § 37-7-117

                e)      § 37-7-118

                f)      § 37-10-102

                g)      § 37-10-105

                h)      § 37-22-110, et seq

                i)      § 37-2-101, et seq

                j)      § 37-3-302

                                                   7
   7:17-cv-01078-DCC           Date Filed 04/25/17     Entry Number 1-1         Page 10 of 78




                                                                                                      ELECTRONICALLY FILED - 2016 Oct 31 10:23 AM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
              k)      § 37-2-309

              l)      § 37-3-308

      42.     Due to Plaintiffs’ willful and continued wrongful acts, and violation of the S.C.

Consumer Protection Code Defendants has been and continues to be damaged.

                                FOR A FOURTH CAUSE OF ACTION

      43.     Each and every allegation in the preceding defenses not inconsistent herewith are

      realleged and adopted for the purpose of this defense.

      44.     Defendants owed a fiduciary duty to Plaintiffs such that they were bound in

      equity and good conscience were bound to act in good faith and with due regard to act in

      the interest of the Plaintiffs.

      45.     Defendants breached their fiduciary duty to the Cantrells as stated herein and

      proximately caused damage to the Cantrells.

      WHEREFORE, Plaintiffs pray for the following relief:

              (a)     that Plaintiffs be granted judgment against Defendants in a sum to be

                      determined by jury for both actual and punitive damages, treble damages,

                      statutory damages, attorneys’ fees, for the cost of this action, interest and

                      for such other and further relief as this Court may be just and proper;

              (b)     for the costs of this action from parties other than Plaintiffs; and

              (c)     for such other and further relief as this court may deem to be just and

                      equitable.




                                                 8
   7:17-cv-01078-DCC   Date Filed 04/25/17   Entry Number 1-1   Page 11 of 78




                                                                                   ELECTRONICALLY FILED - 2016 Oct 31 10:23 AM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
                                                 THE WARD LAW FIRM, PA

                                                 s/Jason M. Imhoff
                                                 Jason M. Imhoff (SC Bar #69355)
                                                 PO Box 5663
                                                 Spartanburg, SC 29304
                                                 (864) 582-3075
                                                 jimhoff@wardfirm.com
                                                 Attorneys for Plaintiffs
October 31, 2016




                                      9
    7:17-cv-01078-DCC          Date Filed 04/25/17       Entry Number 1-1       Page 12 of 78




                                                                                                        ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
 STATE OF SOUTH CAROLINA                   )
                                           )       IN THE COURT OF COMMON PLEAS
 COUNTY OF SPARTANBURG                     )       SEVENTH JUDICIAL CIRCUIT

 Kevin Cantrell and Anne Marie Cantrell,       )     Civil Action No. 2016-CP-42-03923
                                               )
                                 Plaintiffs,   )
                                               )
                vs.                            )
                                               )        DEFENDANTS’ ANSWER TO
 New Penn Financial, LLC, Avenue 365           )             COMPLAINT
 Lender Services, Jake Brown, Shell            )
 Point,                                        )
                                               )
                               Defendants.     )

       Defendants New Penn Financial LLC d/b/a Shellpoint Mortgage Servicing (improperly

captioned respectively as “New Penn Financial, LLC” and “Shell Point,” and hereinafter, “New

Penn”), Avenue 365 Lender Services, LLC (improperly captioned as Avenue 365 Lender Services,

and hereinafter “Avenue 365”), and Jake Brown (collectively, “Defendants”) hereby respond to

the Complaint filed by Kevin Cantrell and Anne Marie Cantrell (“Plaintiffs”).             Except as

specifically admitted herein, each and every allegation in Plaintiffs’ Complaint is expressly denied.

                                    FOR A FIRST DEFENSE

       Defendants’ Answer is subject to, and does not waive, the arguments set forth in its Motion

to Dismiss, which is being filed simultaneously herewith and is incorporated herein by reference.

Pursuant to Rule 12(b)(6) of the South Carolina Rules of Civil Procedure, Plaintiffs’ causes of

action should be dismissed for failure to state a claim as detailed in the Motion to Dismiss.

                                  FOR A SECOND DEFENSE

       1.      Defendants admit the allegations of Paragraph 1.

       2.      Defendants admit that Plaintiff Kevin Cantrell is a veteran. Further responding to

Paragraph 2, Defendants admit that Kevin Cantrell obtained a VA loan for purchase of 323
    7:17-cv-01078-DCC         Date Filed 04/25/17        Entry Number 1-1      Page 13 of 78




                                                                                                       ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Seabreeze Way in Lyman, South Carolina 29365 (the “Property”). Defendants are without

knowledge and information sufficient to form a belief as to the truth of the remaining allegations

in Paragraph 2, and therefore, deny them.

       3.      Responding to Paragraph 3, Defendants admit that in February 2016, New Penn

mailed correspondence to the Property regarding refinancing a mortgage loan. Further responding,

Defendants crave reference to the solicitation referenced in this Paragraph and deny any allegations

of Paragraph 3 inconsistent therewith. Defendants deny the remaining allegations of Paragraph 3.

       4.      Responding to Paragraph 4, Defendants admit that New Penn received a call from

the number associated with Plaintiffs’ account, that Kevin Cantrell refinanced his mortgage loan

on the Property with New Penn at a 3.750% interest rate, that the loan proceeds paid off other debt,

and that Plaintiffs received cash. Further responding, Defendants admit that 4000 Chemical Road,

Suite 200, Plymouth Meeting, PA, 19462 is New Penn’s mailing address. Defendants deny any

remaining and inconsistent allegations of Paragraph 4.

       5.      Responding to Paragraph 5, Defendants admit that New Penn provided Kevin

Cantrell with and requested him to return a loan application package prior to closing that included

letters and disclosures required by federal and South Carolina law, including the South Carolina

Attorney and Insurance Preference Disclosure (“Attorney Preference Form”). Defendants deny

that New Penn provided Anne Marie Cantrell a loan application package. Further responding,

Defendants crave reference to the letters and disclosures referenced in this Paragraph and deny

any allegations of Paragraph 5 inconsistent therewith. Defendants are without knowledge and

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 5

and, therefore, deny them.




                                                 2
    7:17-cv-01078-DCC         Date Filed 04/25/17      Entry Number 1-1       Page 14 of 78




                                                                                                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
        6.     Responding to Paragraph 6, Defendants crave reference to the Attorney Preference

Form mentioned in this Paragraph and deny any allegations of Paragraph 6 inconsistent therewith.

        7.     Defendants deny the allegations in Paragraph 7.

        8.     Responding to Paragraph 8, Defendants admit that Jake Brown is a licensed

mortgage loan originator for New Penn; his Nationwide Mortgage Licensing System Number is

247725, and he has an email address of jdbrown@newpennfinancial.com. Further responding to

Paragraph 8, Defendants admit that Jake Brown assisted with the mortgage loan refinance.

Defendants deny any remaining allegations in Paragraph 8.

        9.     Responding to Paragraph 9, Defendants admit that Avenue 365 corresponded with

Plaintiffs. Defendants deny any remaining and inconsistent allegations of Paragraph 9.

        10.    Responding to Paragraph 10, Defendants admit that Plaintiffs were told at closing

to pay Shellpoint, a division of New Penn, as the mortgage servicer for the mortgage loan refinance

loan.

        11.    Responding to Paragraph 11, Defendants state that Plaintiffs have not identified the

source of the alleged statement and therefore, Defendants are without knowledge and information

sufficient to form a belief as to the truth of the allegations in Paragraph 11 and deny them.

Defendants crave reference to the source of the quoted material in Paragraph 11.

        12.    Defendants are without knowledge and information sufficient to form a belief as to

the truth of the allegations in Paragraph 12 and, therefore, deny them.

        13.    Defendants deny the allegations of Paragraph 13.

        14.    Responding to Paragraph 14, Defendants admit that no documents were sent to

Whit Bishop. Further responding to Paragraph 14, Defendants state that New Penn and Avenue

365 retain South Carolina-licensed attorneys who are responsible for performing, reviewing, or



                                                 3
    7:17-cv-01078-DCC           Date Filed 04/25/17     Entry Number 1-1        Page 15 of 78




                                                                                                        ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
supervising, including any or all of those actions, the title examination, document preparation, and

closing, among other things. Defendants are without knowledge and information sufficient to form

a belief as to the truth of the remaining allegations in Paragraph 14 and, therefore, deny them.

       15.     Defendants deny the allegations of Paragraph 15.

       16.     Responding to Paragraph 16, Defendants admit that Avenue 365 sent the final

settlement package to a South Carolina lawyer, Robert Ryan Breckenridge. Further responding to

Paragraph 16, Defendants crave reference to the Attorney Preference Form and the final settlement

documents and deny any allegations inconsistent therewith. Defendants are without knowledge

and information sufficient to form a belief as to the truth of the remaining allegations in Paragraph

16 and, therefore, deny them.

       17.     Responding to Paragraph 17, Defendants state that New Penn and Avenue 365

retain South Carolina-licensed lawyers to supervise and perform loan closings in accordance with

South Carolina law. Defendants deny any allegations inconsistent herewith.

       18.     Responding to Paragraph 18, Defendants crave reference to the opinion referred to

by Plaintiffs, issued by the Supreme Court of South Carolina on April 20, 2016, and deny any

allegations inconsistent therewith.

       19.     Defendants are without knowledge and information sufficient to form a belief as to

the truth of the allegations in Paragraph 19 and, therefore deny them.

       20.     Responding to Paragraph 20, Defendants deny that Plaintiffs have accurately

quoted the referenced opinion from the Supreme Court of South Carolina. Further responding,

Defendants crave reference to the opinion and deny any allegations inconsistent therewith. In

addition, to the extent the allegations are directed to Robert Ryan Breckenridge, Defendants are




                                                 4
    7:17-cv-01078-DCC          Date Filed 04/25/17       Entry Number 1-1     Page 16 of 78




                                                                                                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
without knowledge and information sufficient to form a belief as to the truth of the allegations in

Paragraph 20 and, therefore deny them.

       21.     Defendants admit the allegations in Paragraph 21.

             FOR A SECOND DEFENSE TO THE FIRST CAUSE OF ACTION
                  (Fraud in the Inducement, Fraud, Constructive Fraud)

       22.     Responding to Paragraph 22, Defendants incorporate and allege their responses to

the preceding paragraphs as if set forth fully herein.

       23.     Defendants deny the allegations of Paragraph 23.

       24.     Defendants deny the allegations of Paragraph 24.

       25.     Defendants deny the allegations of Paragraph 25.

       26.     Defendants deny the allegations of Paragraph 26.

       27.     Defendants deny the allegations of Paragraph 27.

             FOR A SECOND DEFENSE TO THE SECOND CAUSE OF ACTION
                            (Unfair Trade Practices Act)

       28.     Responding to Paragraph 28, Defendants incorporate and allege their responses to

the preceding paragraphs as if set forth fully herein.

       29.     Defendants deny the allegations of Paragraph 29.

       30.     To the extent this allegation is intended to apply to Defendants, Defendants deny

the allegations of Paragraph 30.

       31.     Defendants deny the allegations of Paragraph 31.

       32.     Defendants deny the allegations of Paragraph 32.

       33.     Defendants deny the allegations of Paragraph 33.




                                                  5
    7:17-cv-01078-DCC          Date Filed 04/25/17       Entry Number 1-1      Page 17 of 78




                                                                                                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
           FOR A SECOND DEFENSE TO THE THIRD CAUSE OF ACTION
                                      (Negligence)
       34.   Responding to Paragraph 34, Defendants incorporate and allege their responses to

the preceding paragraphs as if set forth fully herein.

       35.      Defendants deny the allegations of Paragraph 35.

       36.      Defendants deny the allegations of Paragraph 36.

       37.      Defendants deny the allegations of Paragraph 37.

             FOR A SECOND DEFENSE TO THE FOURTH CAUSE OF ACTION
                  (Violation of South Carolina Consumer Protection Code)

       38.      Responding to Paragraph 38, Defendants incorporate and allege their responses to

the preceding paragraphs as if set forth fully herein.

       39.      Defendants admit the allegations of Paragraph 39 only to the extent consistent with

the term as codified under the South Carolina Consumer Protection Code, S.C. Code Ann. § 37-1-

301(10). Defendants deny the remaining allegations of Paragraph 39.

       40.      Defendants deny the allegations of Paragraph 40, including all subparts.

       41.      The Complaint did not include a Paragraph 41, and therefore, no response is

required.

       42.      To the extent this allegation is intended to apply to Defendants, Defendants deny

the allegations of Paragraph 42.

             FOR A SECOND DEFENSE TO THE [FIFTH] CAUSE OF ACTION
                            (Breach of Fiduciary Duty)

       43.      Responding to Paragraph 43, Defendants incorporate and allege their responses to

the preceding paragraphs as if set forth fully herein.

       44.      Defendants deny the allegations of Paragraph 44.

       45.      Defendants deny the allegations of Paragraph 45.



                                                  6
    7:17-cv-01078-DCC          Date Filed 04/25/17     Entry Number 1-1       Page 18 of 78




                                                                                                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
       46.     Defendants deny the allegations contained in the Paragraph beginning with

“WHEREFORE,” and deny that Plaintiffs are entitled to any relief they seek.

                                   FOR A THIRD DEFENSE
                                   (Failure to State a Claim)

       47.     Defendants would show that Plaintiffs have failed to state a claim upon which relief

may be granted; therefore, the Complaint must be dismissed pursuant to Rule 12(b)(6) of the South

Carolina Rules of Civil Procedure. Defendants have filed a separate motion asserting this defense

and refer to and incorporate it by reference.

                                  FOR A FOURTH DEFENSE
                                   (Pleading Requirements)

       48.     Plaintiffs’ Complaint fails to meet the pleading requirements of Rule 9(b) of the

South Carolina Rules of Civil Procedure.

                                FOR A FIFTH DEFENSE
              (South Carolina Unfair Trade Practices Act (SCUTPA) Defenses)

       49.     Defendants would show that Plaintiffs’ SCUTPA claim is barred, in whole or in

part, by application of each and every available common law and statutory defense available to a

claim brought thereunder, including, but not limited to, application of S.C. Code Ann. § 39-5-40.

                                   FOR A SIXTH DEFENSE
                                        (Good Faith)

       50.     Defendants made good faith efforts to comply fully with the law.

                                 FOR A SEVENTH DEFENSE
                                     (Bona Fide Error)

       51.     If any violation of any statutory or common law duty occurred, and the same is

denied, it was unintentional or the result of bona fide error notwithstanding the maintenance of

policies and procedures reasonably adapted to avoid such errors.




                                                7
    7:17-cv-01078-DCC           Date Filed 04/25/17      Entry Number 1-1        Page 19 of 78




                                                                                                         ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
                                   FOR AN EIGHTH DEFENSE
                                      (Failure to Mitigate)

        52.      Plaintiffs’ claims are barred, in whole or in part, for their failure to mitigate any

damages.

                                    FOR A NINTH DEFENSE
                                        (Lack of Injury)

        53.      Plaintiffs have not suffered an injury in fact that provides a basis for claims for

monetary relief or judgment.

                                FOR A TENTH DEFENSE
           (Comparative Negligence, Contributory Negligence, Assumption of Risk)

        54.      Defendants would show that Plaintiffs’ claims are barred by the doctrines of

comparative negligence, contributory negligence, and/or assumption of risk.

                               FOR AN ELEVENTH DEFENSE
                        (Waiver, Estoppel, Laches, Ratification, Consent)

        55.      Plaintiffs’ claims are barred by the equitable doctrines of waiver, estoppel, laches,

ratification, and consent.

                                  FOR A TWELFTH DEFENSE
                                        (Lack of Duty)

        56.      Defendants would show that they had no common law, contractual, or statutory

duty to Plaintiffs.

                                FOR A THIRTEENTH DEFENSE
                                  (Lack of Proximate Cause)

        57.      Plaintiffs have not suffered any damages as a proximate result of the alleged actions

of Defendants.

                                FOR A FOURTEENTH DEFENSE
                                 (Lack of a Special Relationship)

        58.      Defendants would show that they lack a special relationship with Plaintiffs.

                                                   8
    7:17-cv-01078-DCC         Date Filed 04/25/17      Entry Number 1-1        Page 20 of 78




                                                                                                    ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
                             FOR A FIFTEENTH DEFENSE
             (South Carolina Consumer Protection Code (“SCCPC”) Defenses)

       59.     Defendants would show that Plaintiffs’ SCCPC claim is barred, in whole or in part,

by application of each and every available common law and statutory defense available to a claim

brought thereunder.

                                FOR A SIXTEENTH DEFENSE
                                         (Standing)

       60.     Defendants would show that Plaintiffs lack standing to assert the causes of action

alleged in the Complaint.

                              FOR A SEVENTEENTH DEFENSE
                                  (Substantial Compliance)

       61.     Defendants would show that Plaintiffs’ claims are barred because Defendants

substantially complied with applicable statutory requirements, and the doctrine of substantial

compliance bars the recovery Plaintiffs seek.

                              FOR AN EIGHTEENTH DEFENSE
                                        (Contract)

       62.     Defendants would show that the terms and conditions of the agreement(s) between

the parties, which are incorporated herein by reference, are a complete defense to this action.

                               FOR A NINETEENTH DEFENSE
                                       (Justification)

       63.     Defendants would show that Plaintiffs’ claim is barred because any actions taken

by it or procedures followed by it were justified.

                               FOR A TWENTIETH DEFENSE
                                    (Intervening Actor)

       64.     Any damages allegedly sustained by Plaintiffs, which are denied, were caused only

by the acts or omissions of entities or persons other than Defendants, which acts or omissions



                                                 9
    7:17-cv-01078-DCC          Date Filed 04/25/17      Entry Number 1-1      Page 21 of 78




                                                                                                     ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
constitute the intervening and superseding cause of the Plaintiffs’ alleged damages and bar the

claims against Defendants.

                              FOR A TWENTY-FIRST DEFENSE
                                    (Economic Loss Rule)

       65.     Defendants would show that Plaintiffs’ claims are barred by the economic loss rule.

                             FOR A TWENTY-SECOND DEFENSE
                                   (Private Right of Action)

       66.     Defendants would show that Plaintiffs do not have a private right of action for

recovery.

                             FOR A TWENTY-THIRD DEFENSE
                                (Set Off, Offset, Recoupment)

       67.     Defendants would show that Plaintiffs’ claims are subject to set off, offset, or

recoupment.

                             FOR A TWENTY-FOURTH DEFENSE
                                (Regulated Industry Exception)

       68.     Plaintiffs’ claims under the SCUTPA are barred by the regulated industry exception

to the Act.

                              FOR A TWENTY-FIFTH DEFENSE
                              (Statute Limiting Punitive Damages)

       69.     Defendants plead the provisions of S.C. Code Ann. § 15-32-530 as a limit on

Plaintiffs’ recovery of punitive damages.

                            FOR A TWENTY-SIXTH DEFENSE
                          (Unconstitutionality of Punitive Damages)

       70.     Plaintiffs are not entitled to an award of punitive damages because such damages

violate the Fifth and Fourteenth Amendments of the United States Constitution and Article I,

Section 3 of the South Carolina Constitution in that:



                                                10
    7:17-cv-01078-DCC         Date Filed 04/25/17       Entry Number 1-1        Page 22 of 78




                                                                                                        ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
               (a) The judiciary’s ability to correct a punitive damage award at the appellate level
               only upon a finding of passion, prejudice, or caprice is inconsistent with due process
               guarantees;

               (b) An award of punitive damages must strictly comply with the guidelines set forth
               in State Farm Mutual Automobile Insurance Co. v. Campbell, 538 U.S. 408 (2003),
               and the failure to do so renders any such award unconstitutional;

               (c) Any award of punitive damages serving a compensatory function is inconsistent
               with due process guarantees;

               (d) To the extent an award of punitive damages is excessive, such award violates
               due process guarantees;

               (e) Even if it could be argued that a standard governing imposition of punitive
               damages exists, the standard is void for vagueness; and

               (f) Plaintiffs’ claim for punitive damages violates the Due Process Clause and the
               Equal Protection Clause of the Fourteenth Amendment of the United States
               Constitution, and Article I, Section 3 of the South Carolina Constitution in that the
               amount of punitive damages is based upon the wealth and status of Defendants.

                           FOR A TWENTY-SEVENTH DEFENSE
                                    (Reservation)

       71.     Defendants hereby reserve the right to assert such other and further defenses to

Plaintiffs’ Complaint as further investigation and discovery may warrant. Defendants further

reserve any and all counterclaims that may mature against Plaintiffs, specifically reserving any

compulsory counterclaims they may have against them, including but not limited to claims for

breach of the promissory note or other relief.

       WHEREFORE, having fully replied to the Complaint of the Plaintiff, Defendants pray that

the Complaint be dismissed, with prejudice, and for such other and further relief as the Court may

deem just and proper.



Respectfully submitted,

                                    [signature page attached]

                                                 11
    7:17-cv-01078-DCC      Date Filed 04/25/17   Entry Number 1-1    Page 23 of 78




                                                                                     ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
                              NELSON MULLINS RILEY & SCARBOROUGH LLP



                              By: s/ Donna O. Tillis
                                  Matthew D. Patterson
                                  SC Bar No. 68316
                                  E-Mail: matt.patterson@nelsonmullins.com
                                  Carmen Harper Thomas
                                  SC Bar No. 76012
                                  E-Mail: carmen.thomas@nelsonmullins.com
                                  1320 Main Street / 17th Floor
                                  Donna O. Tillis
                                  SC Bar No. 101879
                                  E-Mail: donna.tillis@nelsonmullins.com
                                  Post Office Box 11070 (29211-1070)
                                  Columbia, SC 29201
                                  (803) 799-2000

                              Attorneys for Defendants

Columbia, South Carolina

January 6, 2017




                                           12
    7:17-cv-01078-DCC          Date Filed 04/25/17        Entry Number 1-1        Page 24 of 78




                                                                                                          ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
 STATE OF SOUTH CAROLINA                    )
                                            )       IN THE COURT OF COMMON PLEAS
 COUNTY OF SPARTANBURG                      )       SEVENTH JUDICIAL CIRCUIT

 Kevin Cantrell and Anne Marie Cantrell,        )     Civil Action No. 2016-CP-42-03923
                                                )
                                  Plaintiffs,   )
                                                )
                 vs.                            )
                                                )       DEFENDANTS’ MOTION FOR
 New Penn Financial, LLC, Avenue 365            )     DISMISSAL OF THE COMPLAINT
 Lender Services, Jake Brown, Shell             )
 Point,                                         )
                                                )
                                Defendants.     )

       Pursuant to Rule 12(b)(6) of the South Carolina Rules of Civil Procedure, Defendants New

Penn Financial LLC d/b/a Shellpoint Mortgage Servicing (improperly captioned respectively as

“New Penn Financial, LLC” and “Shell Point,” and hereinafter, “New Penn”), Avenue 365 Lender

Services, LLC (improperly captioned as Avenue 365 Lender Services, and hereinafter “Avenue

365”), and Jake Brown (collectively, “Defendants”) hereby move to dismiss all claims asserted in

the Complaint. Defendants make this motion without waiving, but instead specifically preserving,

all other applicable defenses they have to these claims. The grounds for this motion are as follows:

       1.      Pursuant to Rule 12(b)(6) of the South Carolina Rules of Civil Procedure, a motion

to dismiss must be granted when the pleadings fail to state facts sufficient to constitute a cause of

action as a matter of law. See S.C. R. Civ. P. 12(b)(6) (requiring dismissal when the pleading fails

“to state facts sufficient to constitute a cause of action”). The mere recitation of legal elements is

insufficient to survive a motion to dismiss. See Charleston Cnty. Sch. Dist. v. Laidlaw Transit,

Inc., 348 S.C. 420, 426, 559 S.E.2d 362, 364-65 (Ct. App. 2001). Plaintiffs’ Complaint fails to

meet this standard as to all of the causes of action because the allegations are conclusory. Plaintiffs

set forth grouped allegations without asserting facts specific to each separate Defendant’s alleged
    7:17-cv-01078-DCC          Date Filed 04/25/17       Entry Number 1-1        Page 25 of 78




                                                                                                         ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
actions. (See Compl. ¶¶ 23-26, 29-33, 35-37, 39-42.) Plaintiffs’ pleadings thus are deficient and

improper as they fail to put Defendants on notice regarding the claims asserted against them.

Based on this overall deficiency, the Complaint should be dismissed.

          2.   Similarly, Defendant Jake Brown should be dismissed as a party to this action

because Plaintiffs failed to set forth any allegations in the Complaint sufficient to state a cause of

action against him. Indeed, Jake Brown is mentioned in only one paragraph of the Complaint, (see

id. ¶ 8), and that paragraph is void of any alleged conduct of Jake Brown. See Vaughn v. Waste

Indus. USA, Inc., No. 6:07-501, 2007 WL 1191020, at *4 (D.S.C. Apr. 18, 2007) (dismissing a

defendant because “[t]he complaint [did] not allege any wrongdoing on the part of the

[defendant]”). On this ground, Jake Brown should be dismissed from this action.

          3.   Plaintiffs’ claims against Defendants for fraud in the inducement, fraud, and

constructive fraud fail because they are not pled in compliance with the South Carolina Rules of

Civil Procedure. Plaintiffs failed to allege all the elements of the respective fraud claims. “It is

well-settled that a complaint is fatally defective if it fails to allege all nine elements of fraud.”

Inman v. Ken Hyatt Chrysler Plymouth, Inc., 294 S.C. 240, 242, 363 S.E.2d 691, 692 (1988); see

also Moseley v. All Things Possible, Inc., 388 S.C. 31, 36, 694 S.E.2d 43, 45 (Ct. App. 2010)

(outlining the twelve elements of constructive fraud); Pitt v. Jackson Nat’l Life Ins. Co., 352 S.C.

319, 335, 574 S.E.2d 502, 509 (Ct. App. 2002) (rejecting a plaintiff’s argument that allegations of

omissions were sufficient to establish the element of representation under a constructive fraud

claim).

          4.   Moreover, pursuant to Rule 9(b) of the South Carolina Rules of Civil Procedure,

“the circumstances constituting          fraud . . . shall be stated with particularity.” Courts have

interpreted “the circumstances,” required to be pled particularly as being “the time, place, and



                                                  2
    7:17-cv-01078-DCC         Date Filed 04/25/17      Entry Number 1-1        Page 26 of 78




                                                                                                       ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
contents of the false representations, as well as the identity of the person making the

misrepresentation and what he obtained thereby.” Harrison v. Westinghouse Savannah River Co.,

176 F.3d 776, 784 (4th Cir. 1999). Here, the allegations intended to support the elements Plaintiffs

have pled are too generalized and are also insufficient to meet the Rule 9(b) standard. (See, e.g.,

Compl. ¶ 26 (alleging that Defendants made material misrepresentations “concerning their

services,” without stating with particularity the time, place, speaker, and contents of the

misrepresentation).)

       5.      Plaintiffs’ negligence and fiduciary duty claims fail as a matter of law because

Plaintiffs cannot establish that Defendants owe them a duty. See Corbett v. City of Myrtle Beach,

S.C., 336 S.C. 601, 609-10, 521 S.E.2d 276, 281 (Ct. App. 1999) (outlining the elements of

negligence). “In order for liability to attach based on a negligence theory, the parties must have

‘a relationship recognized by law as providing the foundation for a duty to prevent an injury.’”

Pulliam v. Clark, Nos. 4:11-cv-03047, 4:11-CV-03047, 2012 WL 1835717, at *4 (D.S.C. May 21,

2012) (quoting McCullough v. Goodrich & Pennington Mortg. Fund, Inc., 373 S.C. 43, 47, 644

S.E.2d 43, 46 (2007)). “Whether the law recognizes a particular duty is an issue of law to be

determined by the court.” Jackson v. Swordfish Inv., L.L.C., 365 S.C. 608, 612, 620 S.E.2d 54, 56

(2005) (citation omitted).

               (a)     Plaintiffs alleged that New Penn refinanced Plaintiff Kevin Cantrell’s

mortgage loan in 2016, (Compl. ¶ 3), and owed a duty to its “clients and customers,” (id. ¶ 35).

Under South Carolina law, however, a lender does not have a duty arising merely from the creditor-

debtor relationship. See Pulliam, 2012 WL 1835717, at *4 (“Additionally, South Carolina law

does not recognize a duty arising merely from the fact of the creditor/debtor relationship.”); see

also Midland Mortg. Corp. v. Wells Fargo Bank, N.A., 926 F. Supp. 2d 780, 792 (D.S.C. 2013),



                                                 3
    7:17-cv-01078-DCC          Date Filed 04/25/17      Entry Number 1-1        Page 27 of 78




                                                                                                        ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
aff’d sub nom. Midland Mortg. Co. v. Wells Fargo Bank NA, 545 F. App’x 194 (4th Cir. 2013)

(finding that a lender had no duty of care to its customers). Therefore, New Penn owed no duty to

Plaintiff Kevin Cantrell under the law.

               (b)     Plaintiffs’ negligence claim against Shellpoint, Avenue 365, and Jake

Brown arises solely from Plaintiff Kevin Cantrell’s mortgage refinance loan. (See Compl. ¶¶ 35-

36.) Just as a lender does not have a duty arising merely from the creditor-debtor relationship,

third parties whose relationship arises through the lender also have no duty to borrowers. See, e.g.,

Land v. Green Tree Servicing, LLC, No. 8:14-1165, 2014 WL 5527854, at *5 (D.S.C. Oct. 31,

2014) (dismissing a negligence claim against a mortgage servicer, a national property preservation

management company, and property inspectors); Weber v. Bank of Am. NA, No. 13-cv-01999,

2013 U.S. Dist. LEXIS 128863, at *14-15 (D.S.C. Sept. 10, 2013) (finding that a mortgage servicer

did not have a duty of care to a debtor); Toney v. LaSalle Bank Nat’l Ass’n, 896 F. Supp. 2d 455,

480 (D.S.C. 2012) (recommending dismissal of gross negligence claim where the debtor had not

shown that mortgage servicer had any duty to support a negligence claim). Thus, Shellpoint,

Avenue 365, and Jake Brown owed no duty to Plaintiffs.

               (c)     Plaintiffs’ claim for breach of fiduciary duty also should be dismissed for

failure to state facts sufficient to establish a cause of action. To establish a claim for breach, a

plaintiff must prove “(1) the existence of a fiduciary duty, (2) a breach of that duty owed to the

plaintiff by the defendant, and (3) damages proximately resulting from the wrongful conduct of

the defendant.” RFT Mgmt. Co. v. Tinsley & Adams L.L.P., 399 S.C. 322, 335-36, 732 S.E.2d 166,

173 (2012). Plaintiffs have failed to allege any facts supporting a fiduciary duty, and therefore,

their claim should be dismissed. (See Compl. ¶¶ 44-45.)




                                                 4
    7:17-cv-01078-DCC          Date Filed 04/25/17       Entry Number 1-1        Page 28 of 78




                                                                                                         ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
       6.      Plaintiffs’ claims under the South Carolina Unfair Trade Practices Act

(“SCUTPA”) fail and should be dismissed for several reasons.

               (a)     First, Plaintiffs merely recite the elements of the claim, including purported

damages, (see id. ¶ 32), which is insufficient to state a claim for relief. See Charleston Lumber

Co. v. Miller Housing Corp., 318 S.C. 471, 482, 458 S.E.2d 431, 438 (Ct. App. 1995) (outlining

the elements of a SCUTPA claim as (1) “violation of the Act,” (2) “proximate cause,” and (3)

“damages”). In addition, “[t]o be actionable, under the UTPA, the unfair or deceptive act or

practice must have an impact upon the public interest.” Crary v. Djebelli, 329 S.C. 385, 387, 496

S.E.2d 21, 22-23 (1998) (emphasis added). “Unfair or deceptive acts or practices have an impact

upon the public interest if the acts or practices have the potential for repetition.” Id. Here,

Plaintiffs have failed to state the alleged deceptive act complained of and furthermore, they fail to

state how any such act would impact the public interest or is capable of repetition.

               (b)     Even if the SCUTPA claim was sufficiently pled, the claim still fails

because of the regulated industry exception of the Act. See S.C. Code Ann. § 39-5-40(a)

(excepting “[a]ctions or transactions permitted under laws administered by any regulatory body or

officer acting under statutory authority of this State or the United States or actions or transactions

permitted by any other South Carolina State law”). South Carolina trial courts have ruled that

financial services institutions are unquestionably regulated entities given certain state and federal

statutes such as the Consumer Protection Act. See, e.g., Order at 5-6, CitiMortgage, Inc. v.

Gadson, No. 2012-CP-40-4942 (S.C. Ct. C.P. June 18, 2013) (attached hereto as Exhibit A)

(holding that CitiMortgage, “as a loan servicer, operates within a highly regulated industry . . . and

is therefore exempt from liability under the SCUTPA”). Similarly, mortgage loan originators,




                                                  5
    7:17-cv-01078-DCC          Date Filed 04/25/17      Entry Number 1-1        Page 29 of 78




                                                                                                        ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
such as Jake Brown, are regulated by the South Carolina Board of Financial Institutions.

Accordingly, Plaintiffs’ SCUTPA claim fails as a matter of law.

       7.      Plaintiffs assert claims pursuant to the South Carolina Consumer Protection Code

(“SCCPC”), by listing eleven statute citations—and nothing more—that Defendants allegedly

violated. The following claims under the SCCPC should be dismissed for Plaintiffs’ failure to

state a claim for which relief can be granted:

               (a)     S.C. Code Ann. § 37-2-101 et seq. This chapter applies to “consumer credit

sales,” as defined under section 37-2-104. Plaintiffs’ claims under this chapter fail as a matter of

law because Plaintiff Kevin Cantrell’s transaction was a mortgage refinance, not a consumer credit

sale. Further, pursuant to the mortgage provisions, Plaintiffs intended to give New Penn a first

lien mortgage. (See Mortgage at 5, ¶ 4 (“Borrower shall promptly discharge any lien which has

priority over this security instrument . . . .”).)1 Thus, the mortgage refinance transaction is

specifically excluded from the definition of consumer credit sale because Plaintiffs’ debt is secured

by a first lien mortgage given to New Penn. Therefore, Plaintiffs’ claims should be dismissed.

               (b)     S.C. Code Ann. §§ 37-2-309; 37-3-308. These provisions establish a claim

for the failure to provide certain disclosures in connection with a purchase or refinance of a

manufactured home. Plaintiffs have not alleged, and cannot in good faith allege, that their




1
  Plaintiffs refer to the Mortgage, attached as Exhibit B, in the Complaint at Paragraph 3. Further,
the Mortgage is a matter of public record in the Spartanburg County, South Carolina, Register of
Deeds. Therefore, the Court can consider the Mortgage document for this motion to dismiss. See
Darcangelo v. Verizon Commc’ns, Inc., 292 F.3d 181, 195 n.5 (4th Cir. 2002) (“Because [the
Plaintiffs] rel[y] on the agreement[s] in [their] complaint, it [i]s proper for the district court to
consider [them] in ruling on the motion to dismiss.”); O’Neal v. Wal-Mart Stores East LP, No.
4:11-cv-01239, 2012 U.S. Dist. LEXIS 83934, at *4 n.1 (D.S.C. Apr. 3, 2012) (“[A] court may
consider matters of public record, items appearing in the record of the case, as well as exhibits
attached to the complaint without converting a Rule 12(b)(6) motion to a motion for summary
judgment.”).
                                                 6
    7:17-cv-01078-DCC           Date Filed 04/25/17     Entry Number 1-1        Page 30 of 78




                                                                                                       ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
residence located at 323 Seabreeze Way, Lyman, South Carolina is a manufactured home. (See

Compl. ¶ 1.) Therefore, any causes of action under these provisions should be dismissed. Further,

this cause of action should be dismissed as to Avenue 365 and Jake Brown because they are not

creditors for purposes of these provisions of the SCCPC. See S.C. Code Ann. § 37-1-301(13)

(defining “creditor”).

               (c)       S.C. Code Ann. § 37-3-302. Plaintiffs failed to allege any allegations

related to a failure to provide receipts to a debtor for payments or a consumer loan, and therefore,

this claim should be dismissed. Further, this cause of action should be dismissed as to Avenue

365 and Jake Brown because they are not creditors for purposes of this provision of the SCCPC.

See id.

               (d)       S.C. Code Ann. § 37-5-201. Plaintiffs’ cause of action under this provision

should be dismissed because it is not a code section under the South Carolina Code.

               (e)       S.C. Code Ann. §§ 37-5-202; 37-5-203; 37-5-205. These provisions

outline available remedies for potential violations. Therefore, to the extent Plaintiffs attempt to

assert a claim under sections 5-202, 5-203, and 5-205, they should be dismissed because these

provisions do not create independent causes of actions for which relief can be granted. See In re

Building Materials Corp. of Am. Asphalt Roofing Shingle Prods. Liability Litig., No. 8:12-cv-

00082, 2013 WL 1282223, at *10 (D.S.C. Mar. 27, 2013) (dismissing claims for declaratory

judgment and injunctive relief on the basis that the “claims” were actually remedies and not

independent causes of action). Furthermore, Plaintiffs have not alleged potential violations

because they have not specified which statute was purportedly violated. See Hampton Bensalem

Assocs., L.P. v. O’Neill Bensalem Props., L.P., No. 04-2423, 2005 Bankr. LEXIS 3331, at *9 n.6

(Bankr. E.D. Pa. Nov. 22, 2005) (requiring plaintiff to file amended complaint within 20 days or



                                                  7
    7:17-cv-01078-DCC          Date Filed 04/25/17      Entry Number 1-1        Page 31 of 78




                                                                                                        ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
complaint would be dismissed with prejudice because “Plaintiff fail[ed] to cite the specific

sections of the U.C.C. which it contend[ed] were violated by Defendants”). Therefore, Plaintiffs’

claims should be dismissed because Defendants are not on any kind of notice as to the basis for

the claims.

               (f)     S.C. Code Ann. §§ 37-7-116; 37-7-117; 37-7-118. These provisions apply

to “credit counseling organizations” and “credit counselors” engaging in “credit counseling

service.” See S.C. Code Ann. §§ 37-7-101(2)-(4) (defining each term). Not only are none of the

Defendants credit counseling organizations or credit counselors, Plaintiffs have not even alleged

that they are. (See Compl. ¶¶ 4, 8-10.) Therefore, a cause of action under this provision should

be dismissed as to all Defendants. Moreover, certain entities, such as mortgage brokers and loan

associations, are explicitly excluded from the definition of credit counseling organizations. See

S.C. Code Ann. § 37-7-101(2)(b). For example, Jake Brown is a mortgage loan originator, (see

Compl. ¶ 8), and therefore, any claims against him should be dismissed as a matter of law. See

NMLS Consumer Access, “Jason David Brown,” http://www.nmlsconsumeraccess.org/

EntityDetails.aspx/INDIVIDUAL/247725 (last visited Jan. 3, 2017) (listing Jake Brown as a

“mortgage loan originator”).

               (g)     S.C. Code Ann. §§ 37-5-301; 37-5-302; 37-5-303. Plaintiffs’ claims fail

because they do not allege any allegations sufficient to support relief under these provisions that

relate to willful violations. Further, these provisions are criminal in nature and do not provide for

a civil remedy and should therefore be dismissed.

               (h)     S.C. Code Ann. § 37-10-102. Plaintiffs cannot state a claim for relief under

this provision, the “attorney preference” statute, because the allegations of the Complaint show

that New Penn complied with the statute. The attorney preference statute provides that for any



                                                 8
    7:17-cv-01078-DCC            Date Filed 04/25/17      Entry Number 1-1        Page 32 of 78




                                                                                                           ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
home mortgage loan, a “creditor must ascertain prior to closing the preference of the borrower as

to the legal counsel that is employed to represent the debtor in all matters of the transaction relating

to the closing of the transaction . . . .” S.C. Code Ann. § 37-10-102(a). A creditor can comply

with the attorney preference statute by “including the preference information on or with the credit

application . . . .” Id. § 37-10-102(a)(1). Here, Plaintiffs allege that New Penn indeed ascertained

their preference by providing them with “a South Carolina Attorney and Insurance Preference

Disclosure” prior to closing. (Compl. ¶ 5.) Based on this compliance with the statute, Plaintiffs

attorney preference claim should be dismissed. Further, section 37-10-102 applies only to

creditors. Therefore, this cause of action fails and should be dismissed as to Avenue 365 and Jake

Brown because they are not creditors as defined under the statute. See S.C. Code Ann. § 37-1-

301(12) (defining “creditor”).

               (i)     S.C. Code Ann. § 37-10-105. This provision outlines available remedies

for potential violations. Therefore, to the extent Plaintiffs attempt to assert a claim under section

37-10-105, it should be dismissed because the provision does not create an independent cause of

action for which relief can be granted. See In re Building Materials, 2013 WL 1282223, at *10.

To the extent that Plaintiffs attempt to assert a claim for unconscionability under section 10-

105(C), Plaintiffs’ claim fails because they do not allege unconscionability under section 37-5-

108. See S.C. Code Ann. § 37-10-105(C) (providing for a remedy if an “agreement or transaction

is unconscionable pursuant to Section 37-5-108”). Furthermore, Plaintiffs’ claim fails and should

be dismissed as to Avenue 365 and Jake Brown because they are not creditors as defined under

the statute. See id. § 37-1-301(12) (defining “creditor”).

               (j)     S.C. Code Ann. 37-22-110 et seq. Plaintiffs’ claims fail for failure to allege

any allegations sufficient to support relief under these provisions. In addition, the remedy for



                                                   9
    7:17-cv-01078-DCC         Date Filed 04/25/17      Entry Number 1-1        Page 33 of 78




                                                                                                       ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
violation of this chapter is criminal, and not civil in nature. Therefore, Plaintiffs’ claims should

be dismissed.

       8.       This motion may be supported by further briefing, argument of counsel, and other

submissions to the Court.

                                         CONCLUSION

       For the foregoing reasons, Defendants request the Court dismiss Plaintiffs’ Complaint with

prejudice.

Respectfully submitted,



                                  NELSON MULLINS RILEY & SCARBOROUGH LLP



                                  By: s/ Donna O. Tillis
                                      Matthew D. Patterson
                                      SC Bar No. 68316
                                      E-Mail: matt.patterson@nelsonmullins.com
                                      Carmen Harper Thomas
                                      SC Bar No. 76012
                                      E-Mail: carmen.thomas@nelsonmullins.com
                                      1320 Main Street / 17th Floor
                                      Donna O. Tillis
                                      SC Bar No. 101879
                                      E-Mail: donna.tillis@nelsonmullins.com
                                      Post Office Box 11070 (29211-1070)
                                      Columbia, SC 29201
                                      (803) 799-2000

                                  Attorneys for Defendants

Columbia, South Carolina

January 6, 2017




                                                10
7:17-cv-01078-DCC   Date Filed 04/25/17   Entry Number 1-1   Page 34 of 78




                                                                             ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
                      Exhibit A
    (Order, CitiMortgage, Inc. v. Gadson,
            No. 2012-CP-40-4942
       (S.C. Ct. C.P. June 18, 2013))
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 35 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 36 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 37 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 38 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 39 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 40 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 41 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 42 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 43 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 44 of 78
Entry Number 1-1




                                   Exhibit B
                                               (Mortgage)
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 45 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 46 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 47 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 48 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 49 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 50 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 51 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 52 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 53 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 54 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 55 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 56 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 57 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 58 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 59 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 60 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 61 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 62 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 63 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
                      ELECTRONICALLY FILED - 2017 Jan 06 4:25 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
Page 64 of 78
Entry Number 1-1
Date Filed 04/25/17
7:17-cv-01078-DCC
    7:17-cv-01078-DCC         Date Filed 04/25/17     Entry Number 1-1       Page 65 of 78




                                                                                                    ELECTRONICALLY FILED - 2017 Feb 09 3:51 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
STATE OF SOUTH CAROLNA                      )      IN THE COURT OF COMMON PLEAS
                                            )
COUNTY OF SPARTANBURG                       )
                                            )
Kevin Cantrell and AnnaMarie Cantrell,      )
                                            )
                             Plaintiffs,    )
                                            )
v.                                          )      MOTION TO AMEND COMPLAINT
                                            )
New Penn Financial, LLC, Avenue 365         )
Lender Services, Jake Brown, Shell Point )
                                            )
                             Defendants. )
____________________________________)
       Plaintiffs hereby move the Court, by and through their undersigned counsel, for an Order

of this Court allowing them to amend their Complaint pursuant to Rule 15 (a), SCRCP. Based on

information, Plaintiffs wish to amend their Complaint to remedy allegations in Defendants’ Motion

to Dismiss, add new causes of action indicated by Defendants’ Motion to Dismiss, and correct the

spelling of Plaintiff AnnaMarie Cantrell.

       This motion will also be supported by South Carolina law, the pleadings, documents, and

affidavits to be submitted.


                                                           THE WARD LAW FIRM, PA

                                                           s/Jason M. Imhoff
                                                           Jason M. Imhoff (SC Bar #69355)
                                                           PO Box 5663
                                                           Spartanburg, SC 29304
                                                           (864) 582-3075
                                                           jimhoff@wardfirm.com
                                                           Attorneys for Plaintiffs
February 9, 2017




                                               1
    7:17-cv-01078-DCC          Date Filed 04/25/17      Entry Number 1-1        Page 66 of 78




                                                                                                        ELECTRONICALLY FILED - 2017 Apr 04 2:01 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
STATE OF SOUTH CAROLNA                   )            IN THE COURT OF COMMON PLEAS
                                         )            SEVENTH JUDICIAL CIRCUIT
COUNTY OF SPARTANBURG                    )
                                         )
Kevin Cantrell and AnnaMarie Cantrell,   )           Civil Action No. 2016-CP-42-03923
                                         )
                            Plaintiffs,  )
                                         )
v.                                       )                    CONSENT ORDER TO
                                         )                    AMEND COMPLAINT
New Penn Financial, LLC, Avenue 365      )
Lender Services, Jake Brown, Shell Point )
                                         )
                            Defendants. )
____________________________________)

       On February 9, 2017, Plaintiffs Kevin Cantrell and AnnaMarie Cantrell filed a Motion to

Amend the Complaint. The parties, by and through their undersigned counsel of record, have agreed

to resolve the motion by consent in the form as agreed and have so notified the Court pursuant to

Rule 15(a), SCRCP. In addition to the amended allegations, Plaintiffs wish to amend their

Complaint to correct the spelling of Plaintiff AnnaMarie Cantrell. Defendants specifically reserve

the right to assert, without limitation, all defenses, motions, or other legal remedies to refute the

allegations in the Amended Complaint and defend against Plaintiffs’ claims.

       NOW THEREFORE, it is ordered that Plaintiffs Kevin Cantrell and AnnaMarie Cantrell

may file and serve their Amended Complaint.

       AND IT IS SO ORDERED.

                                                      __________________________________
                                                      The Honorable J. Derham Cole
                                                      Seventh Judicial Circuit

Spartanburg, South Carolina

March ____, 2017
    7:17-cv-01078-DCC        Date Filed 04/25/17   Entry Number 1-1   Page 67 of 78




                                                                                      ELECTRONICALLY FILED - 2017 Apr 04 2:01 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
WE SO CONSENT:

THE WARD LAW FIRM, PA


s/Jason M. Imhoff
Jason M. Imhoff, Esquire
PO Box 5663
Spartanburg, SC 29304
jimhoff@wardfirm.com

Attorney for Plaintiffs


NELSON MULLINS RILEY & SCARBOROUGH, LLC


s/Matthew D. Patterson
Matthew D. Patterson, Esquire
SC Bar No. 68316
E-Mail: matt.patterson@nelsonmullins.com
Carmen Harper Thomas
SC Bar No. 76012
E-Mail: carmen.thomas@nelsonmullins.com
Donna O. Tillis
SC Bar No. 101879
E-Mail: donna.tillis@nelsonmullins.com
1320 Main Street / 17th Floor
Post Office Box 11070 (29211-1070)
Columbia, SC 29201
(803) 799-2000

Attorneys for Defendants




                                            2
7:17-cv-01078-DCC                 Date Filed 04/25/17          Entry Number 1-1   Page 68 of 78




                                                                                                  ELECTRONICALLY FILED - 2017 Apr 04 2:01 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
                                        Spartanburg Common Pleas


Case Caption:              Kevin Cantrell , plaintiff, et al VS New Penn Financial, Llc ,
                           defendant, et al
Case Number:               2016CP4203923

Type:                      Order/Amend



                                                       IT IS SO ORDERED !

                                                       s/ J. Derham Cole



Electronically signed on 2017-04-04 12:01:45   page 3 of 3
    7:17-cv-01078-DCC          Date Filed 04/25/17      Entry Number 1-1        Page 69 of 78




                                                                                                    ELECTRONICALLY FILED - 2017 Apr 10 2:07 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
STATE OF SOUTH CAROLNA                   )            IN THE COURT OF COMMON PLEAS
                                         )
COUNTY OF SPARTANBURG                    )
                                         )
Kevin Cantrell and AnnaMarie Cantrell,   )
                                         )
                            Plaintiffs,  )
                                         )
v.                                       )                    AMENDED SUMMONS
                                         )
New Penn Financial, LLC, Avenue 365      )
Lender Services, Jake Brown, Shell Point )
                                         )
                            Defendants. )
____________________________________)
TO THE ABOVE DEFENDANTS

       YOU ARE HEREBY SUMMONED and required to answer the Complaint in this action,

a copy of which is herewith served upon you, and to serve a copy of your Answer to the Complaint

on the undersigned at this office located at 233 South Pine Street, Post Office Box 5663,

Spartanburg, South Carolina 29304, within thirty (30) days after the service hereof, exclusive of

the day of such service, and if you fail to answer the Complaint within the time aforesaid, the

Plaintiff in this action will apply to the Court for the relief demanded in the Complaint.

               Dated at Spartanburg, South Carolina this April 10th, 2017

                                                      The Ward Law Firm, PA
                                                      Attorneys for Plaintiff

                                                      s/Jason M. Imhoff
                                                      Jason M. Imhoff (SC Bar No: 69355)
                                                      The Ward Law Firm, PA
                                                      PO Box 5663
                                                      Spartanburg, SC 29304
                                                      Telephone (864) 582-3075
                                                      Facsimile (864) 585-3090




                                                 1
    7:17-cv-01078-DCC        Date Filed 04/25/17      Entry Number 1-1        Page 70 of 78




                                                                                                     ELECTRONICALLY FILED - 2017 Apr 10 2:07 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
STATE OF SOUTH CAROLNA                 )            IN THE COURT OF COMMON PLEAS
                                       )
COUNTY OF SPARTANBURG                  )
                                       )
Kevin Cantrell and AnnaMarie Cantrell, )
                                       )
Plaintiffs,                            )
                                       )
v.                                     )            AMENDED COMPLAINT
New Penn Financial, LLC, Avenue 365 )
Lender Services, Jake Brown, Shell     )
Point                                  )
                                       )
                     Defendants.       )
__________________________________)
       Plaintiffs, Kevin Cantrell and AnnaMarie Cantrell, complaining of the Defendants, New
Penn Financial, LLC, Avenue 365 Lender Services, Jake Brown, and Shell Point (hereinafter
“Defendants”), will show unto the court and allege as follows:
        1.     Kevin Cantrell and AnnaMarie Cantrell are the owners of a home located at 323
Seabreeze Way, Lyman, South Carolina.
        2.     Kevin Cantrell is a veteran and qualified for a VA loan for the residence located
at 323 Seabreeze Way, Lyman, South Carolina
        3.     In late 2015 or early 2016, Mr. Cantrell received a solicitation from Defendants to
refinance his Veteran’s Administration Home Mortgage at a lower rate. No explanation was
provided to the Cantrells whether New Penn was a mortgage bank, mortgage broker, mortgage
originator, or mortgage company.
        4.     Mr. and Mrs. Cantrell contacted New Penn Financial and chose to refinance the
home at a lower interest rate with cash out to pay off debt. New Penn Financial, LLC identifies
its address as 4000 Chemical Road, Suite 200, Plymouth Meeting, PA, 19462.
        5.     The Cantrells were provided with numerous documents and packages from New
Penn Financial outlining the terms of the loan. They were also asked to execute and return
numerous documents including, but not limited to, authorizations to release social security
numbers, a credit inquiry explanation letter, a borrower’s certificate and authorization, and a

                                               2
    7:17-cv-01078-DCC         Date Filed 04/25/17      Entry Number 1-1       Page 71 of 78




                                                                                                    ELECTRONICALLY FILED - 2017 Apr 10 2:07 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
South Carolina Attorney and Insurance Preference Disclosure, which they returned to New Penn
Financial or its mortgage broker or representatives with Avenue 365, Jake Brown, or Shell
Point.
         6.    When filling out the South Carolina Attorney and Insurance Preference
Disclosure the Cantrells chose attorney Whit Bishop as their closing attorney.
         7.    The Cantrells’ closing was delayed and some of the terms of that closing were
also changed at the last minute.
         8.    During the process of obtaining the loan for the property the Cantrells were
directed to and worked with Jake Brown, Mortgage Consultant, MNLS# 247725 who had an
email account of jdbrown@newpennfinancial.com. It was and is unclear whether Jake Brown
worked for New Penn, Shell Point, and/or Avenue 365.
         9.    Additionally, during the process of obtaining the loan, the Cantrells began

receiving correspondence and documents from Avenue 365 Lender Services. No person

explained or identified Avenue 365 Lender Service’s role in the new loan process or its

relationship with New Penn, Jake Brown, or Shell Point.
         10.   After the closing, the Cantrells were directed to make the mortgage payments to
Shell Point which they have continued to do.
         11.   New Penn Financial described itself as “a direct mortgage lender” which is able to
provide some of the “fastest service in the mortgage industry without sacrificing our dedication
to customer service.”
         12.   On the date of the closing, the Cantrells were visited by attorney Ryan
Breckenridge, who was sent by and on behalf of Defendants, who offered no identification or
explanation that he was acting as the Cantrells’ attorney, on behalf of Defendants, or that he
was an attorney at all. In fact, during the closing he introduced himself only as a notary and
did not explain that he was the closing attorney in the case.
         13.   Within all of the documents, including authorizations to disclose financial and
personal information nowhere is the relationship between New Penn, Avenue 365, Shell Point, Jake
Brown, or Ryan Breckenridge identified, explained, disclosed, or described.
                                                3
    7:17-cv-01078-DCC         Date Filed 04/25/17     Entry Number 1-1        Page 72 of 78




                                                                                                    ELECTRONICALLY FILED - 2017 Apr 10 2:07 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
        14.    During the closing process the Cantrells assumed that the closing documents had

been sent to the Law Office of Whit Bishop and that he had reviewed and signed off on those

documents. In fact, no closing package or documents were ever sent to Whit Bishop despite the

choice of Whit Bishop in Plaintiffs’ Attorney Preference disclosure and neither the Cantrells nor

Attorney Whit Bishop were aware of that fact until Mr. Cantrell contacted Mr. Bishop

subsequently on an unrelated matter.

        15.    Nowhere within the voluminous documents sent to the Cantrells were the

Cantrells made aware that they did not have an option to obtain their own lawyer or that a

separate company other than New Penn Financial would be accessing and reviewing their

financial records and companies other than New Penn Financial would be preparing the closing

package and acting as the closing attorney in contravention of the Cantrells’ wishes.

        16.    In contravention of the Cantrells’ written choice of Whit Bishop as their closing

attorney for the loan, New Penn, Shell Point, and Avenue 365 sent the final settlement package

to South Carolina Attorney Robert Ryan Breckenridge, without notice to the Cantrells.

        17.    Robert Ryan Breckenridge was approved and assigned by New Penn Financial,

LLC and Avenue 365 and, upon information and belief, Shell Point.

        18.    In a published opinion, filed April 20, 2016 Attorney Breckenridge received a

public reprimand by the Supreme Court of South Carolina with details of similar improper

relationship between a lender, Title Company, and the closing company. Attorney Breckenridge

was previously suspended from the practice of law for his role in improperly handling real estate

closings




                                               4
    7:17-cv-01078-DCC          Date Filed 04/25/17       Entry Number 1-1         Page 73 of 78




                                                                                                          ELECTRONICALLY FILED - 2017 Apr 10 2:07 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
       19.     Mr. Breckenridge did not disclose to the Cantrells that he was splitting attorney’s fees

with anyone else, offer the Cantrells a dual representation disclosure form or make any other

disclosure, and instead told the Cantrells that he was simply a notary. He did not disclose that he

was being investigated by the Attorney Disciplinary Commission for the same closing practice.

        20.     As a result of a similar type of transaction Mr. Breckenridge received a public

reprimand for, among other things, “failure to explain the scope of his representation to [Clients]

and shared a fee with a non-lawyer.” Further, the Supreme Court found that Mr. Breckenridge

did not comply with Rule 407 SCACR which requires “a lawyer who supervises [a residential

real estate closing] process must, at a minimum, explain [the disbursement] process of the clients

and ensure they understand the lawyer’s limited role in the transaction does not include receipt

and disbursement of funds.” The Court found that “in essence, Respondent was using a rubber

stamp for a non-lawyer, out of state organization with no offices in the State of South Carolina

whose involvement was not disclosed to the Respondent’s clients. This Court has insisted on

lawyer-directed real estate closings in order to protect the public. Respondent’s method of

handling his client’s business provided no real protection of his clients and no attorney record of

the transactions by which to verify the details of the closing.

        21.     As the closing occurred in Spartanburg County, South Carolina, jurisdiction and

venue are appropriate in Spartanburg, South Carolina.

       22.     Upon information and belief, the Plaintiffs are informed and believe that New Penn

Financial, Avenue 365, and Shell Point are alter egos of each other who totally dominated and

controlled New Penn and Avenue 365 or visa versa and Defendants manifested no separate

interest personally or between the corporate entities and the entities functioned solely to achieve

the goals of Shell Point.

                                                  5
    7:17-cv-01078-DCC          Date Filed 04/25/17      Entry Number 1-1       Page 74 of 78




                                                                                                      ELECTRONICALLY FILED - 2017 Apr 10 2:07 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
       23.     Because Shell Point was the alter ego of New Penn Financial and Avenue 365 to

separate the corporate entities and apply the corporate rules would promote wrongdoing and

injustice and would contravene the public policy of South Carolina and thus they should be

considered as one single entity for the purposes of this Complaint.

                                FOR A FIRST CAUSE OF ACTION
                       (Fraud in the Inducement, Fraud, Constructive Fraud)

        24.     Each and every allegation in the preceding paragraphs not inconsistent herewith are

realleged and adopted for the purpose of this causes of action.

        25.    Upon information and belief, Defendants are not separate arm’s length entities
with an appropriate system of checks and balances in the residential lending forum, but rather
arethe same or related companies working collectively to obtain customers and profits while
intending to give the appearance that each company is separate and working for the borrower.

       26.     Each company, individually and collectively, works to minimize costs and

increase profits to the detriment of the borrower by relying on illegal, unethical, or fraudulent

procedures, associations, commissions, and fees, including, but not limited to directing borrowers

to sister companies, ignoring or failing to offer the choice of outside counsel or brokers, sharing

commissions, fees, and profits, and working in direct contravention of South Carolina law, codes,

and ethical standards to increase profits.

        27.     Upon information and belief, the Defendants knew or should have known that

directing borrowers to sister companies without disclosing the true financial relationships

between those companies sharing fees, ignoring borrower’s choice of attorney, utilizing unethical

and illegal out of state closing companies, and using counsel with a public reprimand for the same

or similar conduct was illegal, unethical, fraudulent, and dishonest.

        28.     Defendants intentionally and willfully made material misrepresentations of fact to

Plaintiffs or purposefully concealed information concerning their services and intentionally and

willfully withheld material information from Plaintiffs regarding their role in the process, their
                                                 6
    7:17-cv-01078-DCC          Date Filed 04/25/17       Entry Number 1-1        Page 75 of 78




                                                                                                      ELECTRONICALLY FILED - 2017 Apr 10 2:07 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
financial ties and benefits, their intentions to avoid the eyes and oversight of outside counsel,

and failed to disclose that the manner in which they advertised, marketed, obtained, processed,

and shared business was intended solely to increase profits at the expense of the Plaintiffs.
        29.     Plaintiffs had a right to rely upon Defendants” representations and omissions in
connection with the note, contract, mortgage, and the agreement and have been damaged by
Defendants’ fraudulent conduct


                            FOR A SECOND CAUSE OF ACTION
                                  (Unfair Trade Practices)
        30.    Each and every allegation in the preceding paragraphs not inconsistent herewith are
realleged and adopted for the purpose of this cause of action.
        31.     The actions of Defendants described above constitute deceptive acts and/or
practices in the conduct of trade and/or commerce which have an adverse impact on the public
interest.
        32.     Plaintiffs’ deceptive acts and practices are capable of repetition in that they
actively engage in property loans, closings, and mortgages in the State of South Carolina in the
same manner and method detailed above.
        33.     Defendants’ unfair and deceptive acts constitute violation of South Carolina
Unfair Trade Practices Act at S.C. Code § 39-5-10, et. seq.
        34.     As a direct and proximate cause of Defendants’ deceptive acts and practices,
Plaintiffs have suffered actual and consequential damages.
        35.     Defendants’ deceptive acts and practices constitute willful and knowing violations
of S.C. Code § 39-5-10, et. seq. Plaintiffs are therefore entitled to three times actual damages,
plus interest, costs, and attorneys’ fees, for which they hereby sue.


                             FOR A THIRD CAUSE OF ACTION
                                      (Negligence)

        36.     Each and every allegation in the preceding paragraphs not inconsistent herewith are

realleged and adopted for the purpose of this cause of action.

                                                 7
    7:17-cv-01078-DCC           Date Filed 04/25/17          Entry Number 1-1   Page 76 of 78




                                                                                                     ELECTRONICALLY FILED - 2017 Apr 10 2:07 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
        37.     Defendants owed a duty to provide clients and customers with correct information

to comply with their contracts, obligations, requirements, statutes, and regulations and owed a

duty to act in good faith, perform due diligence, provide honest and accurate information, and

investigate the status of its subcontractors and information provided by said subcontractors

during and before closings.

        38.     Defendants breached its duty to these Plaintiffs in that it provided incorrect

information or failed to provide any information, failed to investigate, failed to research, and

failed to oversee the companies and attorneys closing loans on its behalf and failed to provide

proper notices, failed to analyze its duties pursuant to contract, code, statues, regulation, or

otherwise, and failed to perform due diligence or otherwise acted unreasonably.

        39.     Said breaches of its duties have damaged Plaintiffs and proximately caused

damage to Plaintiffs for which they should be compensated.

                               FOR A FOURTH CAUSE OF ACTION
                      (Violation of South Carolina Consumer Protection Code)

        40.     Each and every allegation in the preceding paragraph not inconsistent herewith are

realleged and adopted for the purpose of this cause of action.

        41.     Plaintiffs are consumers under the South Carolina Consumer Protection Code and

is entitled to the rights and liberties contained therein.

        42.     Defendants have breached the South Carolina Consumer Protection Code in the

following particulars, including, but not limited to:

                a)      § 37-10-102
                b)      § 37-10-105
                c)      § 3 7- 2 2- 1 10, e t s e q
                d)      §37-5-108




                                                      8
     7:17-cv-01078-DCC          Date Filed 04/25/17      Entry Number 1-1        Page 77 of 78




                                                                                                       ELECTRONICALLY FILED - 2017 Apr 10 2:07 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
         42.     Due to Plaintiffs’ unconscionable, willful and continued wrongful acts, and

violation of the S.C. Consumer Protection Code Defendants has been and continues to be

damaged.

                                 FOR A FOURTH CAUSE OF ACTION
                                   (Breach of Fiduciary Duty)

        43.      Each and every allegation in the preceding paragraphs not inconsistent herewith are

realleged and adopted for the purpose of this cause of action.

        44.      Defendants owed a fiduciary duty to Plaintiffs such that they were bound in

equity and good conscience were bound to act in good faith and with due regard to act in the

interest of the Plaintiffs.

        45.      Defendants breached their fiduciary duty to the Cantrells as stated herein and

proximately caused damage to the Cantrells.

                              FOR A FIFTH CAUSE OF ACTION
                     (Violation of the Real Estate Settlement Procedures Act)

        46.      Each and every allegation in the preceding paragraphs not inconsistent herewith

are realleged and adopted for the purpose of this cause of action.

        47.      Upon information and belief, the business dealings, relationships, and

agreements of Defendants as indicated in the proceeding paragraphs violate the Real Estate

Settlement Procedures Act, specifically, but not limited to, 12 U.S.C. Section 2607 such that

all defendants’ conduct violates the provisions of that section prohibiting kickbacks and

unearned fees.

        48.      If those allegations are correct, Plaintiff is entitled to all statutory and

common law damages as well as treble damages, punitive damages, and fees and costs.

                               FOR A SIXTH CAUSE OF ACTION
                       (Violation of the “Mortgage Broker Fee Agreement”)
                                                  9
    7:17-cv-01078-DCC           Date Filed 04/25/17      Entry Number 1-1        Page 78 of 78




                                                                                                        ELECTRONICALLY FILED - 2017 Apr 10 2:07 PM - SPARTANBURG - COMMON PLEAS - CASE#2016CP4203923
       49.       Each and every allegation in the preceding paragraph not inconsistent herewith

are realleged and adopted for the purpose of this cause of action.

       50.       Upon information and belief, the business dealings, relationships, and

agreements of Defendants as indicated in the proceeding paragraphs violate the “Mortgage

Broker Fee Agreements,”, specifically, but not limited to, S.C Code Ann §40-58-70, §40-

58-78 such that all defendants’ conduct violates the provisions of that section prohibiting

kickbacks and unearned fees.

       51.       If those allegations are correct, Plaintiff is entitled to all statutory and

common law damages as well as treble damages, punitive damages, and fees and costs.

       WHEREFORE, Plaintiffs pray for the following relief:

                 (a)    that Plaintiffs be granted judgment against Defendants in a sum to be

                        determined by jury for actual and punitive damages, treble damages, statutory

                        damages, attorneys’ fees, for the cost of this action, interest and for such

                        other and further relief as this Court may be just and proper;

                 (b)    for such other and further relief as this court may deem to be just and

                        equitable.

                                                       THE WARD LAW FIRM, PA

                                                       s/Jason M. Imhoff
                                                       Jason M. Imhoff (SC Bar #69355)
                                                       PO Box 5663
                                                       Spartanburg, SC 29304
                                                       (864) 582-3075
                                                       jimhoff@wardfirm.com
                                                       Attorneys for Plaintiffs
April 10, 2017




                                                 10
